
Aeundell:
This is an appeal from the determination of a deficiency in income tax for the calendar year 1921 in the amount of $835.04. The petitioner alleges that the Commissioner erred in increasing the reported income of John D. Pennock and in including the amount of $520 as tax-free bond interest instead of the amount of $250. No competent evidence was offered by the petitioner, either to show that the Commissioner erred or to prove the facts alleged. The only facts before us are those admitted by the Commissioner in his answer. Of these the only one material is that the petitioner is the executrix of the estate of her husband,, John D. Pennock, who died March 10, 1921. In view of the lack of evidence to support the petitioner’s allegations, we must dismiss the appeal under the provisions of section 906 (c) of the Revenue Act of 1924, as amended by section 1000 of the Revenue Act of 1926.

Dismissed.

